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               Exhibit 18
      Case 1:18-cv-00553-RMC Document 29-6
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February 15, 2018

Mr.      Doe
Delivered via University email to:   Doe @gwu.edu

Dear Mr. Doe :

I have received your letter requesting an appeal of the finding of fact from your
University Hearing Board held on December 14, 2017. According to the “Code of
Student Conduct,” appeals are forwarded to the Committee on the Judicial System under
the following criteria:

         Article 33 – Appeals must be based on new information that is relevant to the
                      case, that was not previously presented at the hearing or
                      conference, and that significantly alters the finding of fact.

After reviewing your file, it is my determination that you have not met the requirements
for an appeal as outlined by the “Code of Student Conduct.” Therefore, you must adhere
to the sanctions as outlined in the January 23, 2018 letter from Danielle Lico, Associate
Dean of Students, Division of Student Affairs.

Should you have any further questions regarding this matter please contact the Office of
Student Rights & Responsibilities, at (202) 994-6757 or via e-mail at rights@gwu.edu.

Sincerely,




Robert Snyder
Executive Director of Planning and Outreach

cc:     Jennifer Alexander-Smith, Associate Director, Office of Student Rights &
        Responsibilities




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